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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:21−cr−00698
                                                       Honorable Robert W. Gettleman
Ronald T. Molo
                                        Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, August 24, 2022:


        MINUTE entry before the Honorable Robert W. Gettleman as to Ronald T. Molo:
Telephonic hearing held on 8/24/2022. Defendant appeared on the hearing telephonically.
Telephonic change of plea hearing set for 10/3/2022 at 11:15 a.m. Counsel are directed to
submit a draft plea agreement to the courtroom deputy by 9/27/2022. Members of the
public and media may listen to these proceedings by dialing (888) 684−8852 and using the
access code is 1503395. Counsel of record and other essential case participants will
receive an email prior to the start of the telephone hearing with instructions to join the
call. Persons granted remote access to proceedings are reminded of the general prohibition
against photographing, recording, and rebroadcasting of court proceedings. Violation of
these prohibitions may result in sanctions, including removal of court issued media
credentials, restricted entry to future hearings, denial of entry to future hearings, or any
other sanctions deemed necessary by the Court. By agreement, the Court deems the period
of time from 8/24/2022 to 10/3/2022 excludable under 18 U.S.C. §3161(h)(7)(A) −
interest of justice. Mailed notice (cn).




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